            Case 2:18-cv-00874-RSL Document 61 Filed 08/15/19 Page 1 of 5



 1                                               THE HONORABLE ROBERT S. LASNIK

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 8                              UNITED STATES DISTRICT COURT

 9                            WESTERN DISTRICT OF WASHINGTON
10                                          AT SEATTLE

11    DOMAIN NAME COMMISSION LIMITED,
12                     Plaintiff,                   Case No. 2:18-CV-874

13          v.                                      STIPULATION AND [PROPOSED]
                                                    ORDER FOR BRIEFING SCHEDULE
14    DOMAINTOOLS, LLC,                             AND STAY

15                     Defendant.
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     STIPULATION AND [PROPOSED] ORDER FOR                  ORRICK, HERRINGTON & SUTCLIFFE LLP
                                                                   701 Fifth Avenue, Suite 5600
     BRIEFING SCHEDULE AND STAY: Case No.                        Seattle, Washington 98104-7097
     2:18-CV-874                                                          +1-206-839-4300
             Case 2:18-cv-00874-RSL Document 61 Filed 08/15/19 Page 2 of 5



 1                                             STIPULATION

 2           Plaintiff Domain Name Commission Limited (DNCL) and Defendant DomainTools,

 3   LLC (DomainTools), by and through their undersigned counsel, hereby stipulate to the below

 4   briefing schedule pertaining to DomainTools’ forthcoming motion to dismiss as well as a stay

 5   of discovery pending briefing and resolution of DomainTools’ motion to dismiss. In support

 6   of this stipulation, the parties state as follows:

 7           1.      On September 12, 2018, the Court entered an order granting in part DNCL’s

 8   request for a preliminary injunction. Dkt. No. 43.

 9           2.      On September 26, 2018, DomainTools filed a motion to dismiss Plaintiff’s
10   complaint, with a noting date of October 19, 2018. Dkt. No. 46.

11           3.      On October 17, 2018, DNCL filed an amended complaint that included

12   additional allegations in support of its three claims. Dkt. No. 54.

13           4.      On October 12, 2018, DomainTools filed a notice of appeal. Dkt. No. 52.

14           5.      On October 30, 2018, this Court stayed this matter in its entirety pending

15   resolution of DomainTools’ appeal. Dkt. No. 56.

16           6.      On July 17, 2019, the Ninth Circuit Court of Appeals affirmed this Court’s

17   preliminary injunction ruling and issued the mandate on August 8, 2019. Dkt Nos. 58, 59.

18           7.      DomainTools has indicated its intent to file a motion to dismiss DNCL’s claims

19   under the federal Computer Fraud and Abuse Act and the Washington Consumer Protection
20   Act.

21           8.      The parties hereby stipulate and agree to the following briefing schedule:

22                      DomainTools’ Motion to Dismiss: Due September 3, 2019.

23                      DNCL’s Response to DomainTools’ Motion to Dismiss: Due October 1,

24                       2019.

25                      DomainTools’ Reply ISO Motion to Dismiss: Due October 22, 2019.

26           9.      The parties further agree and stipulate to stay all discovery until fourteen (14)

27   days after this Court enters an order on DomainTools’ forthcoming motion to dismiss.

28           IT IS SO STIPULATED.
     STIPULATION AND [PROPOSED] ORDER FOR                            ORRICK, HERRINGTON & SUTCLIFFE LLP
                                                      -1-                    701 Fifth Avenue, Suite 5600
     BRIEFING SCHEDULE AND STAY: Case No.                                  Seattle, Washington 98104-7097
     2:18-CV-874                                                                    +1-206-839-4300
            Case 2:18-cv-00874-RSL Document 61 Filed 08/15/19 Page 3 of 5



 1          DATED this 15th day of August, 2019.

 2
                                             ORRICK, HERRINGTON & SUTCLIFFE LLP
 3

 4
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 5                                                    s/Melanie D. Phillips
                                                      s/Jacob M. Heath
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                                                    Facsimile: 650-614-7401
14
                                                    Attorneys for Defendant DomainTools, LLC
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     STIPULATION AND [PROPOSED] ORDER FOR                      ORRICK, HERRINGTON & SUTCLIFFE LLP
                                              -2-                      701 Fifth Avenue, Suite 5600
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            Case 2:18-cv-00874-RSL Document 61 Filed 08/15/19 Page 4 of 5



 1                                          DAVIS WRIGHT TREMAINE LLP

 2

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 9                                                Commission Limited
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     STIPULATION AND [PROPOSED] ORDER FOR                     ORRICK, HERRINGTON & SUTCLIFFE LLP
                                             -3-                      701 Fifth Avenue, Suite 5600
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            Case 2:18-cv-00874-RSL Document 61 Filed 08/15/19 Page 5 of 5



 1                                                ORDER
 2          IT IS HEREBY ORDERED that DomainTools’ Motion to Dismiss is due on
 3
     September 3, 2019, DNCL’s response to DomainTools’ Motion to Dismiss is due on October
 4
     1, 2019, and DomainTools’ reply in support of its Motion to Dismiss is due on October 22,
 5
     2019. All discovery is stayed pending resolution of the motion to dismiss. Within 14 days of
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 7   resolution of the motion to dismiss, the parties shall file a joint report with a scheduling

 8   proposal.

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     DATED this ___ day of ____, 2019
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                                                        Robert S. Lasnik
13                                                      United States District Court Judge
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     STIPULATION AND [PROPOSED] ORDER FOR                             ORRICK, HERRINGTON & SUTCLIFFE LLP
                                                     -4-                      701 Fifth Avenue, Suite 5600
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